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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF    AMERICA,      )              CASE NO. 8:05CR131
                                              )
             Plaintiff,                       )
                                              )
             vs.                              )                    ORDER
                                              )
PABLO R. LANDIN,                              )
                                              )
             Defendant.                       )

      This matter is before the Court on the Court’s own motion following the

Memorandum and Order (Filing No. 446) of the Honorable Richard G. Kopf. Judge Kopf

concluded that the “Petition for a Writ of Habeas Corpus” (Filing No. 438; see 8:10CV166)

is a motion filed under 28 U.S.C. § 2255 relating to the above-captioned case. Therefore,

the $5.00 filing fee received on March 29, 2010, should be returned to the Defendant.

      IT IS ORDERED that the Clerk return the $5.00 fee to the Defendant at his last

known address.

      DATED this 14th day of May, 2010.

                                                  BY THE COURT:

                                                  S/Laurie Smith Camp
                                                  United States District Judge
